






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-04-390 CV


____________________



BEVERLY KELLY, Appellant



V.



ALBERTSON'S, Appellee






On Appeal from the County Court at Law No. 1


Jefferson County, Texas


Trial Cause No. 92973






MEMORANDUM OPINION (1)


	We received notice of appeal filed September 13, 2004.  We notified the parties that
the notice of appeal did not appear to have been timely filed.  The appellant did not reply
to our correspondence.  The judgment was signed on May 11, 2004, and the appellate
timetables were extended by the filing of post-judgment motions.  A notice of appeal was
filed on September 13, 2004, more than 90 days from the date the judgment was signed. 
Appellant did not establish that the notice of appeal was mailed by the due date.  See Tex.
R. Civ. P. 5.  The appellant did not file a motion for extension of time with this Court. 
See Tex. R. App. P. 26.3.  The Court finds appellant failed to timely perfect an appeal,
and further failed to present a reasonable explanation for her need for an extension.  Tex.
R. App. P. 10.5(b)(1)(c).

	Accordingly, we dismiss the appeal for lack of jurisdiction.

	APPEAL DISMISSED.

								PER CURIAM

Opinion Delivered December 16, 2004

Before McKeithen, C.J., Burgess and Gaultney, JJ.
1. Tex. R. App. P. 47.4.


